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   Attorneys for Plaintiff and the Putative Class
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                                                  Attorneys for Defendant CleanNet USA, Inc.

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